                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TENNESSEE
                                  SOUTHERN DIVISION

  AUTO-OWNERS INSURANCE COMPANY,                        )
                                                        )
          Plaintiff,                                    )
                                                        )
  vs.                                                   )       No. 1:15-CV-00212
                                                        )
  SOUTHEASTERN CAR WASH SYSTEMS,                        )
  MILLER ELECTRIC, INC.,                                )
  THERESA EVANS, individually and                       )
  d/b/a ISLAND OASIS,                                   )
  AND D’ALTON PROPERTIES, LLC,                          )
                                                        )
          Defendants.                                   )

                       STIPULATION OF DISMISSAL WITH PREJUDICE

          COME NOW Plaintiff Auto-Owners Insurance Company, and Defendants Southeastern

  Car Wash Systems, Miller Electric, Inc., Theresa Evans, individually and d/b/a Island Oasis, and

  D’Alton Properties, LLC, by and through undersigned counsel, and pursuant to Rule

  41(a)(1)(A)(ii) of the Federal Rules of Civil Procedure, and notify the Court that this action is

  hereby dismissed with prejudice.        This dismissal covers all claims, counterclaims, and

  crossclaims made in this action. The parties will each bear their own discretionary costs and

  attorney’s fees associated with this action. This dismissal is with prejudice, and the stipulation is

  signed by all parties who have appeared in this litigation.




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          Respectfully submitted this 17th day of January, 2017.

                                               WOOLF, McCLANE, BRIGHT,
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                                                      D’Alton Properties, LLC



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                                   CERTIFICATE OF SERVICE

          I hereby certify that on January 17, 2017, a copy of the foregoing Stipulation of
  Dismissal with Prejudice was filed electronically. Notice of this filing will be sent by operation
  of the Court’s electronic filing system to all parties indicated on the electronic filing receipt. All
  other parties will be served by regular U.S. mail. Parties may access this filing through the
  Court’s electronic filing system.




                                                 s/ Dean T. Howell, Esq.

                                                    Dean T. Howell, Esq., BPR 022130

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